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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION



 Robert Ross, Individually,                 :   Consolidated Case Nos.
 and on behalf of all others                    2:05-cv-0819
 similarly situated,                        :   2:05-cv-0848
                                                2:05-cv-0860
             Plaintiff,                     :   2:05-cv-0879
                                                2:05-cv-0893
       v.                                   :   2:05-cv-0913
                                                2:05-cv-0959
 Abercrombie & Fitch Company,               :   2:05-cv-0964
 et al.,                                        2:05-cv-0998
                                            :   2:05-cv-1084
             Defendants.
                                            :   JUDGE SARGUS

 THIS ORDER RELATES TO:
 ALL DERIVATIVE ACTIONS

                              OPINION AND ORDER

       These ten cases are comprised of six actions filed by
 investor plaintiffs under the Private Securities Litigation
 Reform Act and four filed by shareholder plaintiffs as derivative
 actions.    Earlier orders of the Court reflect that, after the
 derivative actions were filed, defendant Abercrombie & Fitch
 assembled a Special Litigation Committee to advise it about the
 potential merit of the claims made in the derivative actions.
 That report (which concludes that it would not be in
 Abercrombie’s best interest to pursue the claims) has been
 completed, and a copy has been made available to the derivative
 plaintiffs but not the other plaintiffs.
       Both sets of plaintiffs have filed motions to compel that
 are related to the report.        The investor plaintiffs have asked
 the Court to order Abercrombie to provide them with both a copy
 of the report and all of the underlying documentation.               The
 derivative plaintiffs seek a fair portion, if not all, of the
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 underlying documentation as well as other documents relating to
 the work of the committee.        Abercrombie has opposed both motions.
 The motion filed by the investor plaintiffs will be addressed in
 a separate Opinion and Order.         For the following reasons, the
 motion to compel filed by the derivative plaintiffs will be
 substantially granted.
                                        I.
       The following facts, none of which are seriously in dispute,
 are germane to the derivative plaintiffs’ motion to compel.
 After the derivative actions were filed, Abercrombie, acting
 pursuant to Delaware law, convened a Special Litigation Committee
 to determine if the continuation of the derivative litigation was
 in the best interests of the company.           See Zapata Corp. v.
 Maldonado, 430 A.2d 779 (Del. 1981).           That case held that a
 corporate board of directors may appoint a committee composed of
 independent directors and that such a committee may move for the
 dismissal of a derivative action if such dismissal is in “the
 best interests of the corporation, as determined by the
 committee.“     Id. at 788.
       The committee met and considered a large volume of
 documentation and other information.           According to a news release
 cited in Abercrombie’s brief in opposition to the derivative
 plaintiffs’ motion to compel, the committee reviewed more than
 100,000 pages of documents and considered the results of more
 than fifty witness interviews.         See doc. #172, at 6.        At the
 conclusion of the process, it issued its report.              Based on that
 report, Abercrombie moved on September 10, 2007, to dismiss the
 derivative actions.       That motion, filed under seal and
 accompanied by a copy of the report, is awaiting a response from
 the derivative plaintiffs.        The content of the response depends,
 in part, upon the outcome of their motion to compel.
       On March 27, 2007, shortly after the report was completed,


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 the derivative plaintiffs served interrogatories and document
 requests upon Abercrombie relating to the report.              The document
 requests asked Abercrombie to produce fourteen separate
 categories of documents ranging from any drafts of the report to
 all documents which were obtained by the committee, reviewed by
 it, or relied upon by it in conducting its investigation and
 preparing the report.       Except for certain information relating to
 the relationship, if any, among members of the Special Litigation
 Committee, Abercrombie, and the other defendants, and information
 about certain aspects of the committee’s review process,
 Abercrombie did not produce documents to the derivative
 plaintiffs.     Negotiations among counsel did not move the issue
 toward resolution, and the Court must therefore decide if the
 derivative plaintiffs are entitled to more information about the
 committee’s report.
                                      II.
       Although they have a copy of the report and certain
 additional information relating to the independence of the
 Special Litigation Committee and the procedures it followed, the
 derivative plaintiffs contend that more information is necessary
 in order for them successfully to oppose the motion to dismiss.
 As the Zapata decision makes clear, a derivative action is not to
 be dismissed at the request of the corporation simply because the
 corporation makes that request.          Rather, the court to which the
 motion is directed must first “inquire into the independence and
 good faith of the committee and the bases supporting its
 conclusions ....” Id. at 788. If the requisite level of
 independence and good faith is found, “the Court must determine,
 using its own business judgment, whether the motion should be
 granted.” Id. at 789. According to Zapata, this may result in
 instances where the court denies a motion for summary dismissal
 even though a truly independent committee has made a thorough
 investigation and has come reasonably to the conclusion that the

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 continuation of the case is not in the corporation’s best
 interests. In other words, the reviewing court does not simply
 rubber-stamp reasonable decisions of a Special Litigation
 Committee, but evaluates them in light of such factors as the
 “spirit” of the proceedings, whether the lawsuit is deserving of
 more thorough consideration, and how issues of law and policy
 relate to the proposed dismissal. Id. The question then becomes
 whether, in order to make all necessary arguments against
 dismissal, the derivative plaintiffs ought to be granted access
 to documents beyond the committee report and the other limited
 categories of documents which Abercrombie has agreed to produce.
      Quite a number of courts which have considered this issue in
 the context either of the Delaware rule or a similar rule have
 concluded that broad discovery concerning the activities of the
 Special Litigation Committee is appropriate. Certainly, Zapata
 describes the permissible scope of such discovery as “limited,”
 and the Delaware courts have recognized that if broad merits
 discovery were to be permitted at this stage of the litigation,
 much of the benefit of the procedure would be lost. After all,
 one purpose of allowing a corporation to move for summary
 dismissal of a derivative action is to allow the company to save
 the time and expense that would otherwise be devoted to a
 litigation effort which may not be in the company’s best
 interests to pursue. See, e.g., Kaplan v. Wyatt, 484 A.2d 501
 (Del. Ch. 1984) (noting that while the purpose of discovery in a
 Zapata proceeding is to “assist the Court in its inquiries into
 the good faith and independence of the committee as well as its
 inquiry into the bases supporting the conclusions of the
 committee,” id. at 507, “all-encompassing [merits] discovery is
 not within the spirit of Zapata ....” Id. at 511). See also In
 re Consumers Power Co. Derivative Litigation, 132 F.R.D. 455, 463
 (E.D. Mich. 1990), commenting that the plaintiffs in such a
 derivative action are entitled only to “limited discovery on the
 independence, good faith, and procedural adequacy of the report.”


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      Nevertheless, especially if the Court moves to the second
 step of the inquiry, which requires the Court to exercise its own
 independent judgment as to the costs and benefits of allowing the
 litigation to continue, the Court (and therefore the parties
 affected by the Court’s decision, including the derivative
 plaintiffs) must necessarily be privy to a good deal of
 information. Thus, the Court of Appeals for the Second Circuit
 has held that “if the litigation committee recommends termination
 and a motion for judgment follows, the committee must disclose to
 the court and the parties not only its report but all underlying
 data.” Joy v. North, 692 F.2d 880, 893 (1982). Other decisions
 from courts both within and outside that circuit agree. See,
 e.g., Strugo ex rel. Brazilian Equity Fund v. Bassini, 1999 WL
 249719 (S.D.N.Y. April 28, 1999); Zitin v. Turley, 1991 WL 283814
 (D. Ariz. June 20, 1991). The Court should be mindful, however,
 that the extent of the permissible discovery may depend to some
 extent on the thoroughness of the committee report, and that the
 scope of discovery should be tailored to the needs of each
 individual case. See St. Clair Shore General Employees
 Retirement Sys. v. Eibeler, 2007 WL 3071837 (S.D.N.Y. October 17,
 2007); see also Sutherland v. Sutherland, 2007 WL 1954444 (Del.
 Ch. July 2, 2007) (allowing more expansive discovery in a case
 involving two fifty percent shareholders and where the
 shareholder who was operating the company had a history of
 concealing information).
      With this latter caution in mind, the Court has reviewed the
 Special Litigation Committee’s report which is attached to
 Abercrombie’s motion to dismiss, and summarizes the important
 (and non-confidential) features of that report here. The report
 states that it was prepared by a two-person committee with the
 assistance of outside counsel (who are not litigation counsel in
 any of the cases before the Court). Together, counsel and the
 committee considered depositions or interviews of over fifty
 witnesses and reviewed over 100,000 pages of documents. It is


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 not possible to delineate how much independent investigation the
 committee members engaged in, other than to note that they both
 attended the interview of Michael Jeffries, Abercrombie’s CEO,
 and one of them attended one other witness interview. Summaries
 of the statements of additional witnesses, or depositions given
 by those witnesses in other proceedings, were also available to
 the committee members. It is also not possible to determine the
 volume of underlying documentation each of the committee members
 reviewed. The report itself provides a great deal of detail
 about the insider trading claim leveled against Mr. Jeffries,
 which does appear to be the single most significant claim in the
 derivative cases. Although the report contains a fair amount of
 legal analysis on key issues such as the legal standard
 applicable to the various types of claims advanced in the
 derivative plaintiffs’ complaints and whether Mr. Jeffries or
 others may have acted with the requisite state of mind, it is, at
 its core, a fact-based report which relies fairly heavily on
 credibility assessments of the people involved in Mr. Jeffries’
 stock trading decisions. Should the Court opt to proceed to the
 second step of the Zapata analysis, it is likely that the Court
 will have to engage in at least some independent review of the
 witness statements and supporting factual material which
 persuaded the committee that Mr. Jeffries’ trading decisions were
 not related to any material non-public information in his
 possession.
      Despite Abercrombie’s protestations to the contrary, almost
 every decision addressing these issues holds that notes of
 witness interviews or summaries of their statements can be
 obtained through discovery in a Zapata proceeding. Even Kindt v.
 Lund, 2001 WL 1671438 (Del. Ch. December 14, 2001), a case relied
 upon by Abercrombie, allowed such discovery because it is
 relevant to “the procedure by which the Committee reached its
 decisions.” Id. at 2. Another case cited by Abercrombie for the
 proposition that “notes prepared in connection with witness


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 interviews” are not discoverable, Abercrombie’s memorandum (doc.
 #172, at 7 n.2), Strugo ex rel. Brazilian Equity Fund v. Bassini,
 supra., actually allowed the derivative plaintiffs in that case
 to discover “the notes of interviews....” Id. at *7. The
 committee’s report in this case highlights the crucial nature of
 these witness statements, and any argument intended to persuade
 the Court that the committee erred in relying upon them would
 have to be based upon their content, making any transcripts,
 summaries or notes of those interviews clearly discoverable.
      The same can generally be said about the request to inspect
 the documents relied upon by the committee in reaching its
 conclusions on the factual and legal issues before it. For
 example, in Abbey v. Computer & Communications Technology Corp.,
 1983 WL 18005 (Del. Ch. April 13, 1983), another case relied upon
 by Abercrombie, although the court recognized that the limited
 discovery contemplated in Zapata was not to be “full Court
 authorized discovery of the same matters investigated informally
 by the Committee,” the derivative plaintiffs were nonetheless
 entitled to see “the documentary materials utilized or relied
 upon by the Committee during its investigation.”              Id. at *3.
 Otherwise, the plaintiffs would find it difficult to assess the
 reasonableness either of the committee’s investigation or the
 conclusions it reached based upon the materials before it. The
 cases cited by the Court above generally support that conclusion.
 It is true that Kindt v. Lund, supra., reached a contrary
 conclusion, but its rationale does not stand up under close
 scrutiny. That decision appears to distinguish between the
 content of witness interviews and summaries cited in the report,
 which it viewed as illuminating the procedure through which the
 committee reached its decision, and the documentary evidence
 cited in the report, which it characterized as “pertain[ing] to
 the underlying operative facts upon which plaintiff posits her
 derivative claim.”      Id. at *2.     However, when a committee
 considers and relies upon both witness statements and documents

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 in reaching its conclusions, it is difficult to see why one
 category of information would be discoverable and the other not.
      Here, the Special Litigation Committee did not rest its
 factual conclusions on witness statements alone. It not only
 reviewed (or had its counsel review) a large volume of documents,
 but it expressly relied on the contents of many of those
 documents, such as various financial and performance-related
 documents generated in 2005, reports from analysts following
 Abercrombie stock, transcripts of public conference calls held in
 2005, and various human resources policies and procedures
 relating to the employment discrimination lawsuit which underlies
 another of the derivative plaintiffs’ claims. As part of the
 Zapata procedure, the Court may well be called upon to determine
 if the information in these documents correlates with the
 committee’s description of them and if they actually support the
 committee’s conclusions.
      The possibility exists, of course, that some of the
 documents reviewed by the committee or its advisors may have
 added little to the committee’s conclusions. However, it is not
 reasonably practicable to draw a dividing line between documents
 reviewed or considered by the committee but not expressly cited
 in the report, and documents that are specifically identified in
 the report itself. The Court presumes that the 100,000 pages of
 documents to which the report refers, once they were separated
 out from the larger universe of documents that are potentially
 relevant to the claims advanced in the litigation, have been
 maintained in that same segregated fashion and can readily be
 produced. Consequently, there should be little additional burden
 involved in producing all, rather than some ill-defined subset
 of, these documents.
      The derivative plaintiffs have also requested copies of the
 billing statements prepared by the committee’s counsel. They
 assert that such statements will enable them to see how many
 hours were spent on the investigation by category of attorney or

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 other law firm employee. They have apparently already learned
 that Abercrombie was billed for 4,817.50 hour of time and paid
 more than $3 million for legal services rendered to the
 committee. Abercrombie does not address this specific item at
 all in its response except for citing to one case, Strougo, which
 denied a similar request made by the derivative plaintiffs in
 that case. While that case declined to compel production of such
 documents, it provided no rationale for doing so, instead
 discussing reasons why depositions of counsel to the committee
 are generally not permitted.
      Despite the cursory nature of Abercrombie’s response, the
 Court fails to see the relevance of this request. Once the
 derivative plaintiffs were informed of the total number of hours
 spent by counsel in advising the committee and conducting the
 investigation detailed in the committee’s report, it is hard to
 see how a breakdown of those hours between partners, associates,
 and others materially advances the Court’s review of the Zapata
 issues. If the committee’s investigation was thorough and its
 reasoning is sound, whether it based its conclusions on legal
 work done by a partner, an associate, or a law firm investigator
 is unimportant. There is also the likelihood that production of
 the entirety of the billing statements will create attorney-
 client privilege issues. Consequently, the Court sees no reason
 to grant this request. That is not true, however, with respect
 to the requests for documents that include summaries of the
 committee’s meetings, which show the arrangements made and scope
 of work assigned to its advisors, or which reflect its document
 retention policy, if any (Document requests 12, 13 and 14).
 Abercrombie has not argued the merits of these requests, and the
 information appears to be relevant to the committee’s
 investigatory process. Thus, Abercrombie will be directed to
 produce these documents.
                                      III.
       The only other issue that the parties have briefed is the

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 question of privilege and waiver. The specific application of
 this question to the other issues addressed in this Opinion is
 not entirely clear. Plaintiffs appear to take the position that
 Abercrombie has waived any privilege which might otherwise attach
 either to the report itself, or to any documents that the Court
 might deem discoverable at this stage of the litigation, simply
 by submitting the report under seal as part of its motion to
 dismiss. Abercrombie, on the other hand, relying on In re
 Perrigo Co., 128 F.3d 430 (6th Cir. 1997), contends that because
 its disclosure of the report in that fashion was essentially
 mandated by law (at least to the extent that the law permits it
 to move for dismissal of a derivative action), no waiver has
 occurred. However, neither party has identified a single
 document about which a claim of either attorney-client or work
 product privilege has been made.
      The Court agrees with the assertion in Abercrombie’s
 responsive brief that there are, as yet, no specific privilege
 issues that are ripe for judicial determination. Now that the
 Court has more fully delineated the documents that are
 discoverable by the derivative plaintiffs in connection with the
 Zapata proceeding, Abercrombie will be in a better position to
 determine if it has any viable claim of privilege concerning any
 specific document covered by this order. It is the Court’s
 expectation that many of the documents reviewed either by counsel
 or the Special Litigation Committee are business or personal
 documents to which no claim of privilege has ever attached, and
 certainly such documents did not acquire privileged status simply
 because they may have been reviewed by counsel or supplied to the
 committee by an attorney. The same is likely true with respect
 to factual summaries of witness interviews. The Court expresses
 no view at this time whether any previously privileged documents
 lost that status if the committee reviewed and relied upon them
 in reaching its conclusions, or whether any documents which
 contain not only factual statements but mental impressions of


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 counsel to the committee may be protected by the work product
 privilege. Such issues shall be addressed first by the parties,
 and presented to the Court only if they cannot reach a resolution
 extrajudicially. The same shall apply to any draft of the report
 which was prepared by counsel to the committee.
                                      IV.
      Based on the foregoing analysis, the derivative plaintiffs’
 motion to compel (#160 in Case No. 2:05-cv-819) is granted as
 follows. Within 30 days, Abercrombie shall produce all documents
 responsive to the following document requests: 2,4,5,11,12,13,
 and 14. The motion is denied in all other respects.
       Any party may, within ten (10) days after this Order is filed,
 file and serve on the opposing party a motion for reconsideration
 by a District Judge.       28 U.S.C. §636(b)(1)(A), Rule 72(a), Fed. R.
 Civ. P.; Eastern Division Order No. 91-3, pt. I., F., 5.                     The
 motion must specifically designate the order or part in question
 and the basis for any objection.           Responses to objections are due
 ten days after objections are filed and replies by the objecting
 party are due seven days thereafter.              The District Judge, upon
 consideration of the motion, shall set aside any part of this Order
 found to be clearly erroneous or contrary to law.

       This order is in full force and effect, notwithstanding the
 filing of any objections, unless stayed by the Magistrate Judge or
 District Judge.      S.D. Ohio L.R. 72.4.



                                /s/ Terence P. Kemp
                                United States Magistrate Judge




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